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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   SAMUEL WONG
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2772
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 8                   IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )        2:09-CR-00407-KJM
                                    )
12             Plaintiff,           )        PRELIMINARY ORDER OF
                                    )        FORFEITURE
13        v.                        )
                                    )
14   LUIS RENEE ESTRADA CASTANON,   )
          aka Jesus Estrada Pineda, )
15   et al.,                        )
                                    )
16             Defendants.          )
                                    )
17
          Based upon the plea agreement entered into between plaintiff
18
     United States of America and defendant Luis Renee Estrada Castanon,
19
     it is hereby ORDERED, ADJUDGED AND DECREED as follows:
20
          1.   Pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C.
21
     § 2461(c), defendant Luis Renee Estrada Castanon’s interest in the
22
     following property shall be condemned and forfeited to the United
23
     States of America, to be disposed of according to law:
24
                a)     a Taurus Model PT99AF, 9 millimeter semi-automatic
25                     pistol, serial number L23349; and a New Haven
                       Model 250C, .22 caliber rifle, no serial number.
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          2.   The above-listed property constitutes firearms involved in
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     or used in a knowing violation of 18 U.S.C. § 924(c)(1)(A)(i).
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                                         1
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 1         3.   Pursuant to Rule 32.2(b), the Attorney General (or a
 2   designee) shall be authorized to seize the above-listed property.
 3   The aforementioned property shall be seized and held by the Bureau
 4   of Alcohol, Tobacco, Firearms and Explosives, in its secure custody
 5   and control.
 6         4.   a.    Pursuant to 28 U.S.C. § 2461(c), incorporating 21
 7   U.S.C. § 853(n), and Local Rule 171, the United States shall publish
 8   notice of the order of forfeiture.        Notice of this Order and notice
 9   of the Attorney General’s (or a designee’s) intent to dispose of the
10   property in such manner as the Attorney General may direct shall be
11   posted for at least 30 consecutive days on the official internet
12   government forfeiture site www.forfeiture.gov.          The United States
13   may also, to the extent practicable, provide direct written notice
14   to any person known to have alleged an interest in the property that
15   is the subject of the order of forfeiture as a substitute for
16   published notice as to those persons so notified.
17               b.    This notice shall state that any person, other than
18   the defendant, asserting a legal interest in the above-listed
19   property, must file a petition with the Court within sixty (60) days
20   from the first day of publication of the Notice of Forfeiture posted
21   on the official government forfeiture site, or within thirty (30)
22   days from receipt of direct written notice, whichever is earlier.
23         5.   If a petition is timely filed, upon adjudication of all
24   third-party interests, if any, this Court will enter a Final Order
25   ///
26   ///
27   ///
28   ///
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 1   of Forfeiture pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C.
 2   § 2461(c), in which all interests will be addressed.
 3        SO ORDERED this 19th day of May, 2011.
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                                             UNITED STATES DISTRICT JUDGE
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